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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                           :          1:21-CR-618-ABJ
                                                   :
                 v.                                :
                                                   :
RILEY JUNE WILLIAMS                                :



    DEFENDANT’S REPLY TO GOVERNMENT’S BRIEF IN OPPOSITION
    TO DEFENDANT’S MOTION TO DISMISS COUNTS ONE, TWO, FIVE
            AND SIX AND MOTION TO TRANSFER VENUE

          Defendant Riley June Williams, by and through her attorneys, hereby

respectfully submits this reply 1 to the Government’s brief in opposition to Ms.

Williams’ Motions to Dismiss Counts One, Two, Five and Six of the Indictment 2

and to Transfer Venue. Ms. Williams submits that her Motions to Dismiss should

be granted in their entirety, and a ruling on her Motion to Transfer Venue be

deferred until a time more proximate to trial.

I.        COUNT ONE – 18 U.S.C. § 231(a)(3) – CIVIL DISORDER



1
    This reply brief is filed in accordance with the Court’s Minute Entry dated October 18, 2021.
2
  Since Ms. Williams’ Motion to Dismiss Count Two was filed, district judges in the District of
Columbia have issued decisions on similar motions to dismiss. United States v. Caldwell et al.,
21-CR-28 (APM); United States v. Sandlin, Degrave, 21-CR-88 (DLF); United States v.
Mostofsky, 1:21-cr-138 (JEB); United States v. Nordean et al., 21-CR-175 (TJK) and; United
States v. Montgomery, Brady, Knowlton, 21-CR-046 (RDM). Within its opposition, the
Government relies on these decisions, which are non-binding on this Court, and, accordingly, are
not discussed at length herein.


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      Section 231 criminalizes any act, or attempted act, to “obstruct, impede, or

interfere” with an officer engaged in his lawful duties “incident to and during the

commission of a civil disorder.” 18 U.S.C. § 231(a)(3). Ms. Williams maintains

that this statute is overbroad because it criminalizes conduct and speech protected

by the First Amendment.

      The Government principally relies on United States v. Mechanic, where the

Eighth Circuit rejected an overbreadth challenge to § 231(a)(3). 454 F.2d 849, 852

(8th Cir.1971). The Mechanic court held that §231 “has no application to speech,

but applies only to violent physical acts.” This is an extremely narrow reading of

§231, which has been rejected (recently) by at least one district court. See United

States v. Pugh, 2021 U.S. Dist. LEXIS 177266 at *18 (S.D. Ala. May 13,

2021)(“[t]he Court here agrees that 18 U.S.C. § 231(a)(3) applies to conduct, but

not necessarily the more stringent view of the Eight[h] Circuit that it only applies

to violent physical acts.”)(emphasis in original). The Pugh court recognized that

the “only place where violence is is in the definition of ‘civil disorder,’” and

observed that the Eighth Circuit’s link of violence to the act of the individual is not

required by the text of the statute. Id. at *18-19. Ms. Williams submits that the

Pugh court was correct in holding that §231(a)(3) should be “construe[d] . . more

broadly to include exactly what it says: ‘any act.’” Id. at *19. While it is true that

a wide variety of acts may be criminal, it is just as true that many acts can be



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considered protected First Amendment speech. Because §231(a)(3) can capture

protected expressive conduct and criminalize it, it is constitutionally overbroad.

Accordingly, the Court should dismiss Count One of the indictment.

II.    COUNT TWO – 18 U.S.C. § 1512 – OBSTRUCTION OF AN
       OFFICIAL PROCEEDING

       A.     The Electoral Count is Not an Official Proceeding

       Ms. Williams maintains that the Electoral Count 3 was not an “official

proceeding” within the meaning of 18 U.S.C. § 1512(c). The Government argues

that the plain text defining “official proceeding,” as a “proceeding before

Congress” is sufficient to conclude that the Electoral Count on January 6th is

included in this definition. The Government supports this argument by choosing

only one definition of “proceeding” from the Oxford English Dictionary, which

defines it as “the carrying on of an action or series of actions; action, course of an

action; conduct, behavior.” ECF#40, Gov’t Opp. at 5-6. However, if the courts

rested on just this definition, then any event would qualify as an “official

proceeding” because every event “carries on an action or series of actions.” Other

courts have not relied on this definition and have interpreted “official proceeding”

to disqualify many types of government activities even though the activities



3
  The Electoral Count on January 6, 2021 was a Joint Session of Congress, and Ms. Williams
will interchangeably use the terms “Electoral Count” and “Joint Session” within this brief to
refer to the same event.


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“carried on a series of an action or series of actions” See, e.g., United States v.

Sutherland, 921 F.3d 421, 426 (4th Cir. 2019) (FBI investigation not an “official

proceeding” because that term “implies something more formal than a mere

investigation”) cert. denied, 140 S. Ct. 1106 (2020); United States v. Dunn, 434 F.

Supp. 2d 1203, 1207 (M.D. Ala. 2006) (investigation conducted by Bureau of

Alcohol, Tobacco, and Firearms not an “official proceeding” because the term

encompasses “events that are best thought of as hearings (or something akin to

hearings)”).

       The Government further argues that the narrower Black’s Law Dictionary

definition of “proceeding” would still include the Electoral Count on January 6th.

See Gov’t Opp. at 6. That narrower definition includes, “the business conducted by

a court or other official body; a hearing.” Black’s Law Dictionary, “proceeding”

(11th ed. 2019). This definition of “proceeding” plainly describes the word to

mean “a hearing.” The Government provides little support for the Joint Session on

January 6th being a “hearing.” The only support the Government provides is that

the Joint Session is a formal environment where a decision must be made.4 See



4
 Notably, the statute governing the Electoral Count Joint Session, 3 U.S.C.§ 15, repeatedly
makes clear that the Joint Session is simply a “meeting” of both Congressional bodies:
       The Senate and House of Representatives shall meet in the Hall of the House
       of Representatives……..When the two Houses have voted, they shall
       immediately again meet….



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Gov’t Opp. at 8-9. Rather than explain why the Electoral Count should be

considered an “official proceeding” in its own right, the Government simply

analogizes the ceremonial and formulaic steps of the vote certification process to a

court hearing. Moreover, the cases the Government cites interpret “official

proceeding” more narrowly by not only explaining that it must be a formal

environment but that there also must be characteristics of a hearing, such as

findings of fact, and having the power to issue subpoenas. See United States v.

Kelley, 36 F.3d at 1127 (explaining the Inspector General was empowered to, and

did, issue subpoenas, and compel sworn testimony in conjunction with an

investigation). So, it is not just that a decision must be made in a formal

environment, but rather that the characteristics surrounding the event must be “akin

to a hearing.” Id. This interpretation is consistent with the congressional intent

outlined in Ms. Williams’ motion to dismiss.

       Although the Electoral Count is in a “formal environment,” it is not a

“hearing” because it does not have the characteristics associated with a typical

hearing. Just because a decision must be made does not place the session

“comfortably within the category of an “official proceeding” as the Government




3 U.S.C. § 15. (emphases added). Thus, the language of the statute governing the Joint Session
plainly describes it as a “meet[ing]” rather than a proceeding.



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suggests. The Government does not acknowledge the ceremonial nature of the

session but instead attempts to equate it with a hearing. The Government points to

3 U.S.C. §15, which technically bestows Congress with the authority to lodge

objections; however these “objections” are not the same that exist in a typical

proceeding which the statute intends to cover. 5

       As explained in Ms. Williams’ motion to dismiss, the session is ceremonial

and the objections have no legal significance. 6 The session is not intended to be


5
  The history of “objections” lodged at the Electoral Count further demonstrates the
ceremonial nature of the Electoral Count. The past objections were mostly made in the 1800’s
because of the confusion of when new states were admitted to the union and how that impacted
whether their votes should count. Objections were ultimately rejected because it was determined
that the Joint Session did not have the authority to judge the proceedings already had in the
states. See Vasan Kesavan, “Is the Electoral Count Act Unconstitutional?” 80 North Carolina
Law Review 1653 at 1678-94 (2002) (hereafter, “Kesavan”). In 1876, the most tumultuous
election, Samuel Tilden and Rutherford Hayes were separated by one electoral vote and four
states sent Congress multiple electoral returns. Id. Instead of the Joint Session resolving this
issue (because Congress recognized that the Joint Session did not have the authority to do so),
Congress formed a separate commission to sort through the chaos and decide the issues of fact
and law presented. Id. Subsequently, to address issues like this in the future, Congress enacted
the Electoral Count Act of 1887, placing on the states the responsibility to resolve disputes about
electors and their appointments and certifications. Stephen A. Siegel, The Conscientious
Congressman’s Guide to the Electoral Count Act of 1887, 56 Fla. L. Rev. 540, 543 (July 2004).
Further, in 1969, there was an objection that a vote sent up to Congress from North Carolina
should not be counted because it reflected the “faithless” elector who had refused to give his vote
to Richard Nixon, despite Nixon winning the popular vote in that state. The objection was
rejected, and the vote at issue counted, because of the strong reminder of representatives such as
R. Rarick who said “[w]e are not election supervisors nor given the discretion to re-compute the
vote received from a sovereign state. The Constitution clearly proscribes our duty as to ‘count
the electoral votes,’ the ministerial function of a central collecting agency and a tabulating
point.” See Kesavan at 1694 (emphases added).
6
 The vote count is entirely ministerial – it certifies vote counts that have been determined. It
does not meaningfully decide any issues of fact or law because those have already been decided
by the states and the courts, see, e.g., Bush v. Gore, 531 U.S. 98 (2000), and the Joint Session


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adversarial and that is because, by the time it takes place, the states have certified

that there are no remaining disputes and therefore any objection would be to the

technical procedures carried out by the individual states. Simply put, the “counting

function” the Joint Session of Congress convened for the Electoral Count does not

have a “judicial” aspect to it and the “electoral vote is merely ministerial.”

       For all these reasons, the Electoral Count is not “a proceeding” akin to a

formal hearing. Rather, it is a ceremonial meeting of both houses of Congress.

While steeped in tradition, it decides nothing. It is a political performance

conducted in order to give the country a feeling of finality over the already final

election results. As a result, the Electoral Count does not qualify as an “official

proceeding” and Count Two of the indictment should be dismissed.

       B.      Vagueness

       The Government cites to United States v. Lanier, 520 U.S. 259, 267 (1997),

for the premise that the “touchstone” of a vagueness analysis “is whether the

statute, either standing alone or as construed, made it reasonably clear at the

relevant time that the defendant’s conduct was criminal.” This common sense and

practical standard is exactly what the defendant submits is missing here. On

January 6, 2021, Ms. Williams could not possibly have been on notice that she was


does not have the power under the Constitution to actually reject the votes of any State. See
Kesavan at 1653.


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“obstructing” an “official proceeding” for several reasons. Foremost is that Ms.

Williams is not accused of committing an act of obstruction. Rather, she is accused

of being present at the Capitol where others allegedly committed such acts. The

Government submits that it intends to prove at trial that Ms. Williams was

directing rioters to go “upstairs,” and that she was in Nancy Pelosi’s office when a

laptop was taken, but the Government does not explain how this alleged conduct

obstructed the Electoral Count. Gov’t Opp. at 19. It is not reasonable to say that

Ms. Williams’ conduct had the “natural and probable effect” of halting the vote

when there was no particular action that Ms. Williams took that could be

reasonably linked to the interference of the vote. See United States v. Aguilar, 515

U.S. 593, 601 (1995). For these reasons, the statute is unconstitutionally vague as

applied to Ms. Williams.

      C.     Distinguishing Recent District of Columbia Cases

             1.    “Official Proceeding”

      Four recent cases. Caldwell, Sandlin, Nordean, and Montgomery ruled that

the vote count on January 6, 2021 was a “proceeding before Congress” and

therefore qualifies as an “official proceeding” under 18 U.S.C. §1512(c)(2). These

cases, however, do not resolve the arguments raised by Ms. Williams here. While

each decision defines “official proceeding,” none of the decisions consider whether



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the electoral vote was a “proceeding” at all under any definition.

         In Caldwell, for example, the district court did not address the ceremonial

and predetermined nature of the electoral count, and how that predetermination is

antithetical to the vote count being considered a “proceeding” or “hearing.” See

Caldwell Opinion, ECF#558. Similarly, the Sandlin court ruled that a “proceeding”

need not be “court-like” and did not require the “administration of justice.” Sandlin

Opinion, ECF#63 at 7-9 (the Sandlin court did, however, rule that an official

proceeding must be akin to a hearing7). The Caldwell and Montgomery courts

ruled that an “official proceeding” means “the business conducted before an

official body.” Caldwell Opinion at 8-10; Montgomery Opinion, ECF#87 at 13, 19.

Lastly, the Nordean court had the broadest interpretation, ruling that an “official

proceeding” is a “series of actions” that requires “some formal convocation.”

Nordean Opinion, ECF#263 at 11.

       However, in reaching its determinations, the Caldwell, Nordean, and

Mongtomery courts left a crucial part of the definition of “proceeding” out of their



7
  The Sandlin court held that a “proceeding” must be akin to a formal hearing. Sandlin Opinion
at 7, 9. The Sandlin Court reasoned that the vote count is a formal hearing because of the formal
procedures it must follow pursuant to 3 U.S.C. § 15 that allow for objections and decisions, but
did not address the “ceremonial and ministerial” nature of the meeting, or consider the
procedures that govern the meeting in the context of the meeting’s ceremonial nature. Sandlin
Opinion at 7-9. The ceremonial nature of the vote count, however, is crucial to determining
whether or not the electoral count is akin to a formal hearing and, in turn, whether it may
constitute a “proceeding.”


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analyses. See Caldwell Opinion at 9; Nordean Opinion at 11; Montgomery

Opinion at 11. As discussed supra, Black’s Law Dictionary defines “proceeding”

to be “the business conducted by a court or other official body; a hearing.” (11th

ed. 2019) (emphasis added). The word “hearing,” which was left out of the three

courts’ definitions, provides crucial context to the definition of “proceeding” by

requiring something more than a “formal convocation” or “business conducted

before an official body.”

             2.     Vagueness

      In Sandlin, the court refused to find the word “corruptly” vague as applied to

Sandlin because it found there was a clear nexus between the alleged conduct and

the intent to obstruct the vote. Sandlin Opinion at 24-26. In Sandlin, the

defendants allegedly engaged in advance planning, forcibly breached the Capitol

building, assaulted Capitol police officers inside the building, and encouraged

others to steal paperwork from the Senate Chamber. Id. In contrast to Sandlin,

there is no nexus between Ms. Williams’ alleged actions and an intent to obstruct

the vote count.

      In Sandlin, the Court found the term “corruptly” in §1512(c)(2) to mean

“wrongfully” and “independently criminal” and therefore was not impermissibly

vague in that case because the defendants’ alleged behavior was so intertwined

with their concerted efforts to obstruct the vote that it fit squarely within the term.


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Id. at 25. See also Nordean at 24 (agreeing with Sandlin). The Sandlin Court noted,

however, that other cases with different facts could present closer questions. Id.

This case is a perfect example of one that presents a closer question. Here, Ms.

Williams’ conduct does not fit squarely within the core coverage of “corruptly”

because her actions are not inextricably intertwined with an intent to obstruct the

vote count. Ms. Williams alleged trespass into the Capitol building is a separate

crime for which there is a separate mens rea. That alleged trespass is not and

should not be intertwined with an intent to obstruct the vote count without any

further indication of that intent. Ms. Williams did not engage in advance planning

and did not take any actions to actually “impede” or “influence” the vote count.

Accordingly, §1512(c)(2) is vague as to Ms. Williams.

      Shortly after the Sandlin decision, the district courts in Caldwell and

Nordean also ruled that §1512(c)(2) is not impermissibly vague. See Caldwell and

Nordean Opinions. In Caldwell and Nordean, the district courts agreed that the

term “corruptly” must be understood in its intransitive form and that is why

Poindexter does not control in a prosecution under §1512(c)(2). Caldwell Opinion

at 22-33; Nordean Opinion at 22. However, it is the intransitive form of the term

“corruptly” that makes it especially vague in this case. Ms. Williams did not

personally act corruptly with respect to any intent to obstruct the vote count.

Furthermore, it cannot be alleged that trespass alone that is the “corrupt” act,



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otherwise every single person that entered the Capitol that day would be guilty of

§1512(c)(2). It also could not have been the statements allegedly made while

inside the Capitol building because none of those statements indicated a desire to

stop the vote count. Simply put, there is no alleged action that should have put Ms.

Williams on notice that she was acting corruptly while allegedly trying to stop the

vote count.

      The district court in Caldwell relied on Arthur Anderson and other circuit

decisions that interpreted “corruptly” to require the “consciousness of

wrongdoing.” Caldwell at 23-24. The Court found that interpretation readily

applied to the Caldwell defendants who were allegedly members of the Oath

Keepers and conspired and pre-planned their January 6, 2021 activities and that

(except for one) forcibly breached the Capitol. Id. at 3-5 (defendants allegedly

collected paramilitary gear and were armed with such gear on January 6, chatted

together about plans prior to January 6, and some were allegedly part of a group

that pushed through a line of officers inside the Capitol building). With those

alleged facts, none of which are present here, the Court found a logical nexus

existed between the inherent “consciousness of wrongdoing” and the intent to halt

the vote count. Id. at 23-24. That same nexus, however, does not exist or apply to

individuals like Ms. Williams. Further, the “consciousness of wrongdoing” of the

acts attributed to Ms. Williams – entering the Capitol and exclaiming dissent over



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the election results– are unconnected to the intent or “consciousness” of halting a

vote count.

       In Montgomery, the Court also found that a “nexus” requirement is

consistent with past decisions. Montgomery Opinion at 44-45 (defendants

allegedly wore tactical vests, used violence on officers, and stormed the Senate).

In Montgomery, the Court reasoned that §1512(c)(2) requires the defendant’s

conduct to have the “natural and probable effect of interfering with an official

proceeding and the accused must have known his actions were likely to affect a

particular proceeding.” Id. (quoting United States v. Aguilar, 515 U.S. 593, 599

(1995). In this case, that link cannot be made. Ms. Williams was not on notice

because it is not reasonable to say that her actions of protesting while entering the

Capitol building had a “natural and probable effect” of halting the vote when there

was no particular action that Ms. Williams took that could be reasonably linked to

the interference of the vote.

       For these reasons, the vagueness of the word “corruptly” still remains as

applied to Ms. Williams.

III.   COUNTS FIVE AND SIX– 18 U.S.C. § 1752 – RESTRICTED
       BUILDING/GROUNDS

       It is evident that the Government perceives the fatal flaws in Counts Five

and Six, which is why it has attempted to amend the Grand Jury’s indictment in its

brief in opposition to Ms. Williams’ motion. To be clear, the indictment in this

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case invokes §1752 on the basis that “the Vice President was temporarily visiting”

the United States Capitol. ECF#27, Indictment (emphasis added). Now, for the first

time in it its opposition brief, the Government contends that not only was the Vice

President “temporarily visiting” the Capitol, but that “two [of his] immediate

family members” were also “temporarily visiting” the U.S. Capitol building when

Ms. Williams is alleged to have violated 18 U.S.C. § 1752. Gov’t Opp. at 31. The

Government added “two immediate family members” of Vice President Pence in

an obvious attempt to save the §§1752 charges from dismissal, but the Government

cannot amend the indictment in a brief in opposition. 8 Accordingly, the Court

should disregard any arguments the Government makes concerning the presence of

Vice President Pence’s family members at the Capitol on January 6th.

       To be clear, the Government acknowledges that Vice President Pence lived

and worked in the District of Columbia and maintained “a permanent U.S. Capitol

office.” Gov’t Opp. at 32-33. The Government further acknowledges that Vice

President Pence was at the U.S. Capitol on January 6 “as President of the Senate,”

“to preside[] over” and “oversee the Joint Session of Congress.” Id. at 33.




8
 “After the grand jury has returned its indictment, the charges may not be broadened
or amended by the court or the prosecutor - only the grand jury itself can do that.” United States
v. Haldeman, 559 F.2d 31, 164 n.18 (D.C. Cir. 1976) (citing Stirone v. United States, 361 U.S.
212, 216 (1960)); see also Ex Parte Bain, 121 U.S. 1 (1887).



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Contrary to the Government’s assertion, however, it is hardly “irrelevant” that Vice

President Pence lived and worked in the District of Columbia and had a permanent

U.S. Capitol office. Id. at 32. Rather, these undisputed facts demonstrate that the

statute does not apply as a matter of law as the Government attempts to apply it,

nor did Congress intend for the statute to apply here. The “temporarily visiting”

part of the statute was promulgated specifically to address the difficulties of

protecting the President “when he is outside the White House complex traveling or

residing temporarily in some other section of the country.” Auth. Of Sec’y

Treasury to Ord. Closing of Certain Sts. Located Along the Perimeter of the White

House, 19 Op. O.L.C. 109 (1995) (“Authority of the Secretary”)(emphasis added).9

In the floor debate on the bill, legislators discussed “the problems confronting the

Secret Service when protecting the President outside of Washington.” Id.

(emphasis added). Nonetheless, Ms. Williams does not suggest that the statute

may apply only to places outside the District of Columbia. Ms. Williams simply

highlights the obvious: that a person generally cannot be said to be “temporarily

visiting” his own office building located approximately four miles from his

residence.

         Still, the Government claims that Vice President Pence was “temporarily

visiting” the Capitol because he was “physically present . . . for a particular

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    Available at https://www.justice.gov/file/20226/download.


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purpose” and “intended to leave at the close of the session.” Gov’t Opp. at 32.

According to the Government, then, every person who worked at the Capitol who

was “physically present” that day—every Congressperson, every staffer, every

U.S. Capitol Police officer—was “temporarily visiting.” By that logic, only a

person meandering aimlessly through the Capitol for no purpose, or a person who

lived within and never left the Capitol (i.e., no one), would fall outside the scope of

“temporarily visiting.” The Court should reject the government’s invitation to read

all meaning out of an express limitation in a criminal statute. See United States v.

Wiltberger, 18 U.S. 76, 95 (1820) (“The rule that penal laws are to be construed

strictly, is perhaps not much less old than construction itself” and “is founded on

the tenderness of the law for the rights of individuals . . . .”).

       In fact, the Government reads the words “temporarily visiting” out of the

statute completely. Under the Government’s limitless interpretation, the words

“temporarily visiting” are meaningless and superfluous. “The Government’s

reading is thus at odds with one of the most basic interpretive canons, that ‘a

statute should be construed so that effect is given to all its provisions, so that no

part will be inoperative or superfluous, void or insignificant . . . .”’ Corley v.

United States, 556 U.S. 303, 314 (2009) (quoting Hibbs v. Winn, 542 U.S. 88, 101

(2004)); see also Colautti v. Franklin, 439 U.S. 379, 392 (1979) (discussing

“elementary canon of construction that a statute should be interpreted so as not to


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render one part inoperative”) (citing United States v. Menasche, 348 U.S. 528,

538–539 (1955)). If Congress wanted to define “restricted building or grounds” to

encompass anywhere a Secret Service protectee “is or will be physically present”

at any given time, Congress easily could have, and would have, omitted the words

“temporarily visiting” or used the words “physically present” instead in §

1752(c)(1)(B). See Burgess v. United States, 553 U.S. 124, 130 (2008) (“As a rule,

[a] definition which declares what a term ‘means’ . . . excludes any meaning that is

not stated.”) (alteration and ellipsis in original) (quoting Colautti, 439 U.S. at 392-

393 n. 10). “Congress did not write the statute that way.” Russello v. United States,

464 U.S. 16, 23 (1983) (quoting United States v. Naftalin, 441 U.S. 768, 773–774

(1979)). Consequently, the statute simply does not restrict any government

building in which a Secret Services protectee is or will be “physically present.”

Also, “[r]eading the statute to proscribe a wider range of offensive conduct,” as the

government urges, “would raise the due process concerns underlying the vagueness

doctrine.” Skilling v. United States, 561 U.S. 358, 408 (2010).

      Contrary to the government’s assertion (Gov’t Opp. at 33), it is entirely

rational that section 1752(c)(1)(B) would not apply at the President’s and Vice

President’s “permanent residences in Delaware or California” because state

criminal and property law protects all individuals on their private property and in

their private residences. Congress does not have the power to federally prosecute


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and punish any and all criminal conduct anywhere in the United States: Under our

federal system, the “‘States possess primary authority for defining and enforcing

the criminal law.’” Brecht v. Abrahamson, 507 U.S. 619, 635 (1993) (quoting

Engle v. Isaac, 456 U.S. 107, 128 (1982)); see also Screws v. United States, 325

U.S. 91, 109 (1945) (plurality opinion) (“Our national government is one of

delegated powers alone. Under our federal system the administration of criminal

justice rests with the States except as Congress, acting within the scope of those

delegated powers, has created offenses against the United States”). When Congress

criminalizes conduct already denounced as criminal by the States, it effects a

“‘change in the sensitive relation between federal and state criminal jurisdiction.’”

United States v. Enmons, 410 U.S. 396, 411–412 (1973) (quoting United States v.

Bass, 404 U.S. 336, 349 (1971); United States v. Lopez, 514 U.S. 549, 561 n. 3

(1995)). It is entirely rational and reasonable for Congress to legislate so as not to

exceed the scope of its Constitutional authority.

      Lastly, the Government’s contention that the appropriate construction

“would neuter the government’s ability to deter and punish those individuals who

seek unauthorized access to the President’s or Vice President’s location” is wholly

unsupported. Gov’t Opp. at 33. Section 1752 expressly delineates three definitions

of the term “restricted building or grounds” pursuant to which individuals may be

criminally punished. “When ‘a statute includes an explicit definition’ of a term,


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‘we must follow that definition . . . .’” Van Buren v. United States, 141 S. Ct. 1648,

1657 (2021) (quoting Tanzin v. Tanvir, 141 S. Ct. 486, 490 (2020)). In addition,

section 3056(d) criminalizes obstruction and interference with a Secret Service

officer’s performance of his or her “protective functions.” See also Authority of the

Secretary, 19 Op. O.L.C. at 109 (opining that § 3506 “grants the Secretary broad

authority to take actions that are necessary and proper to protect the President”).

The Government’s argument should be directed to Congress to amend the statute,

not to request this Court to interpret it contrary to Congress’s language. The

Supreme Court has recently rejected the government’s attempts to stretch and

broaden the interpretation and application of federal criminal statutes. See Kelly v.

United States, 140 S.Ct. 1565, 1574 (2020) (finding the government using federal

fraud statutes to criminalize regulatory actions of government officials an

impermissible and overbroad application of the statute); Van Buren, 141 S.Ct. at

1661 (finding the government’s broad construction of the computer fraud and

abuse statute would implicate a large amount of commonplace activity not meant

to be covered by the statute). This Court should do the same here, and dismiss

Counts Five and Six of the indictment.

IV.   MOTION TO TRANSFER VENUE

      As of this writing, Federal Public Defender’s Office for the District of

Columbia has retained the services of an expert to conduct a statistical study of the


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      District’s jury pool and the study is underway. Ms. Williams requests leave

of court to supplement her Motion to Transfer upon completion of the jury study.

Accordingly, Ms. Williams requests that the Court hold her Motion to Transfer

Venue in abeyance at this time.

V.    CONCLUSION

      Based on the foregoing arguments, Ms. Williams respectfully requests that

the Court grant her Motions to Dismiss, and defer a ruling on her Motion to

Transfer Venue.

Date: January 24, 2022                       Respectfully submitted:

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                         CERTIFICATE OF SERVICE

      I, Lori J. Ulrich, Esquire, of the Federal Public Defender’s Office, do hereby

certify that I served a copy of the foregoing Defendant’s Reply Brief via

Electronic Case Filing, and/or by placing a copy in the United States mail, first

class in Harrisburg, Pennsylvania, and/or by hand delivery, addressed to the

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